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                        United States Bankruptcy Court
                                   District of Connecticut
                                                                                            Filed and Entered
                                                                                                On Docket
                                                                                            January 30, 2019


In re:
         William B. McNamara Jr.                                                       Case Number: 19−50107 jam
                                           Debtor*                                     Chapter: 7




                                     DEFICIENCY NOTICE AND
                   NOTICE OF DISMISSAL OF CASE FOR FAILURE TO CURE DEFICIENCY


           The above−referenced case was commenced on January 29, 2019 (hereafter, the "Petition Date") with the
following Petition Date Deficiencies indicated below:

             I.    DOCUMENTS REQUIRED TO BE FILED WITH THE PETITION

           NOTICE is hereby given that in accordance with the applicable provisions of 11 U.S.C. § 521, Federal
Rule of Bankruptcy Procedure 1007, and Local Rules of Bankruptcy Procedure 1007(1) and 1007(2), the documents
indicated below have not been filed with the Petition:

    Statement of Social Security Number (Official Form B121)

    List of Creditors/Creditors Uploaded


            YOU ARE FURTHER NOTIFIED, failure to cure the above deficiencies within five (5) days of the
Petition Date shall result in the DISMISSAL of your case.


             II.   DOCUMENTS REQUIRED TO BE FILED WITH THE PETITION OR WITHIN
                   FOURTEEN DAYS OF THE PETITION

           NOTICE is hereby given that in accordance with the applicable provisions of 11 U.S.C. § 521, Federal
Rule of Bankruptcy Procedure 1007, and Local Rules of Bankruptcy Procedure 1007−1, the documents indicated
below, and not filed to date or incorrectly filed to date, must be filed with the Court within fourteen days of the
Petition Date:

   Schedules A/B, C, D, E/F, G, H, I, J (Official Forms B106A/B−B106J2 for Individuals, Official Forms
B206A/B−B206H for Non−Individuals, Schedule C is not required for Non−Individual debtor)

    Summary of your Assets and Liabilities and Certain Statistical Information (Official Form B106Sum for
Individuals, Official Form B206Sum for Non−Individuals)

    Statement of Financial Affairs (Official Form B107 for Individuals, Official Form B207 for Non−Individuals)

    Attorney's Disclosure of Compensation (Directors Form B2030)




    Credit Counseling Certificate (See 11 U.S.C. § 521 (b)(1)), Motion for Determination of Exigent Circumstances
(See § 109(h)(3)), or Motion for Exemption from Credit Counseling (See § 109(h)(4)). See Bankruptcy Rules 1007(b)
and (c).
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   Chapter 7 Statement of your Current Monthly Income and Means−Test Calculation (Chapter 7 Individuals
Only)(Official Forms B122A1, B122A−1Supp, B122A−2)

   Declaration about Debtor's Schedules (Offical Form B106dec for Individuals, Form B206dec for
Non−Individuals)

    Bankruptcy Petition Preparers Notice, Declaration and Signature (Official Form B119)

    Statement of Intention for Individuals Filing Under Chapter 7 (Official Form B108)

NOTE: Statement of intention is required to be filed within thirty (30) days of the Petition Date.


             III.    DISMISSAL OF CASE FOR FAILURE TO CURE DEFICIENCY / DEFICIENCIES

            YOU ARE HEREBY NOTIFIED failure to timely cure the defiencies noted in Section I and/or Section II
shall result in the DISMISSAL of your case.

           YOU ARE FURTHER NOTIFIED that if you filed an Application to Pay the Filing Fee in Installments,
and you fail to pay the full filing fee by the final installment due date or any due date extended beyond the final
installment due date, in accordance with Federal Rules of Bankruptcy Procedure 1006(b), shall result in DISMISSAL
of your case.




Official Bankruptcy Forms are available on our website www.ctb.uscourts.gov


Dated: January 30, 2019                                                                        BY THE COURT



                                                                                                Myrna Atwater
                                                                                                Clerk of Court


United States Bankruptcy Court                                                      Tel. (203) 579−5808
District of Connecticut                                                             VCIS* (866) 222−8029
915 Lafayette Boulevard                                                             * Voice Case Information System
Bridgeport, CT 06604                                                                http://www.ctb.uscourts.gov
                                                                                    Form 119 − ts
*For the purposes of this notice, "Debtor" means "Debtors" where applicable.
